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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)


        DECLARATION OF ROBERT WINNING REGARDING FIRST INTERIM
    APPLICATION OF M3 ADVISORY PARTNERS, LP, AS FINANCIAL ADVISOR TO
        THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS, FOR
    ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
       THE PERIOD FROM SEPTEMBER 7, 2023 THROUGH DECEMBER 31, 2023

STATE OF DELAWARE                            :
                                             :
COUNTY OF NEW CASTLE                         :

         1.       I am a managing director in the applicant firm of M3 Advisory Partners, LP (“M3

Partners”).

         2.       I have personally performed many of the services rendered by M3 Partners, as

Financial Advisor to the Committee, and am generally familiar with all other work performed on

behalf of the Committee by the professionals in the firm.

         3.       The facts set forth in the foregoing Application are true and correct to the best of

my knowledge, information, and belief. Moreover, I have reviewed the requirements of Rule 2016-

2 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

for the District of Delaware and submit that the Application complies with such requirements.




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



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         4.    I declare under penalty of perjury that the foregoing is true and correct.

 Dated: February 14, 2024                        M3 ADVISORY PARTNERS, LP

                                                 /s/ Robert Winning
                                                 Robert Winning
                                                 Managing Director, M3 Advisory Partners, LP




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